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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11
                                                                    Case No.: 23-12825 (MBK)
    LTL MANAGEMENT LLC,1
                                                                    Judge: Michael B. Kaplan
                                Debtor.                             Hearing Date and Time:
                                                                    Pursuant to OST

             NOTICE OF DEBTOR’S MOTION FOR ENTRY OF AN ORDER
      SEALING THE REDACTED PORTIONS AND EXHIBITS OF THE DEBTOR’S
     OMNIBUS REPLY IN SUPPORT OF ITS MOTION FOR AN ORDER APPOINTING
    RANDI S. ELLIS AS LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS

             PLEASE TAKE NOTICE that, on the date set by the Court pursuant to a proposed

Order Shortening Time (the “OST”) and Application, as defined below, to be submitted,

LTL Management LLC, the above-captioned debtor (the “Debtor”), by and through its counsel,



1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


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shall move before the Honorable Michael B. Kaplan, United States Bankruptcy Court, at the

United States Bankruptcy Court, Clarkson S. Fisher U.S. Courthouse, 402 East State Street,

Trenton, New Jersey 08608, for the entry of an order pursuant to D.N.J. LBR 9018-1 to seal the

redacted information referenced in and confidential excerpts attached to (together “Confidential

Information”) its Omnibus Reply in Support of Its Motion for an Order Appointing Randi S. Ellis

as Legal Representative for Future Talc Claimants. Confidential Information includes those

certain excerpts from depositions of the following deponents that the Debtor designated

confidential: Erik Hass, John Kim, James Murdica, David Molton, and Mikal Watts.

Additionally, the Confidential Information includes certain other sensitive documents, and

references thereto, regarding the negotiation of the term sheet and plan support agreements. The

parties have agreed, in the interest of time and with full reservation of rights, to treat such

designations as confidential until otherwise decided by this Court.

        PLEASE TAKE FURTHER NOTICE that, contemporaneously with the filing of the

Debtor’s Motion to Seal (the “Motion”), the Debtor filed an Application for Order Shortening

Time and Certain Other Relief (the “Application”) requesting that the Court hear its Motion on

May 3, 2023, at 10:00 a.m.

        PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2, responsive

papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson S. Fisher

Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon the Debtor’s

undersigned counsel, by the time set forth in the Court’s order entered with respect to the

Application.




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          PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and

  served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and

  the relief may be granted without a hearing



Dated: April 28, 2023                           WOLLMUTH MAHER & DEUTSCH LLP

                                                /s/ Paul R. DeFilippo
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